Case No. 1:20-cr-00386-RM Document 26-1 filed 10/05/23 USDC Colorado pg 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 1:20-cr-00386-RPM-1

UNITED STATES OF AMERICA,

     Plaintiff,

v.

Almundo Cruz SINGER,

     Defendant.


 ORDER REGARDING VIOLATION(S) OF CONDITIONS OF SUPERVISED RELEASE



         THIS MATTER is before the Court upon request by the probation officer to
initiate revocation proceedings due to violation(s) of the conditions of supervision.

         HAVING considered the probation officer's petition, the Court

          ORDERS the issuance of an arrest warrant.

          ORDERS the issuance of a summons.

          DENIES the request.


            DATED at Denver, Colorado, this          day of October, 2023.

                                          BY THE COURT:



                                              Raymond P. Moore
                                              Senior United States District Judge
